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    ~A0245B       (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1
                                                                                                                            FILED
                                               UNITED STATES DISTRICT Co                                                                           ICTCOURT
                                                                                                                             ibHDtt~ Of CALIFORNIA
                                                                                                                                                        DEPUTY
                    UNITED STATES OF AMERICA                                                                                    ."   1:. .•,;."
                                                                                                                                                    INALCASE
                                         v.                                       (For Offenses Committed On or          fter November 1, 1987)

                 RACHELLE LYNETTE CARLOCK (1)                                     Case Number: 08CRl895 MMM
                                                                                  Shereen J Charlick, Federal Defenders, Inc.
                                                                                  Defendant's Attorney
    REGISTRATION NO. 06313298
    181 Modification of Restitution Order (18 U.S.c. § 3664)
    THE DEFENDANT:
    181 pleaded guilty to count(s)             FIVE OF SUPERSEDING INDICTMENT

    D was found guilty on count(s)
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                     Count
    Title & Section                           Nature of Offense                                                                                     Number(s)
18:924(c)(I)(A)(B)(ii)and2              Possession of Destructive Device in Relation to a Crime of Violence;
                                        Aiding and Abetting                                                                                             5




              The defendant is sentenced as provided in pages 2 through _ _5_ _ of this judgment. The sentence is imposed pursuant
       to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
  181 Count(s) --=.r.:..:em=al::;·n::,:in;,;j;g2....-_ _ _ _ _ _ _ _ __          is   D are[g] dismissed on the motion of the United States.
  181 Assessment: $ 100.00
  181 Fine waived                                      D Forfeiture pursuant to order filed                                             included herein.
            IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
      or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
      defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                      October 31, 2011
                                                                                  Date of Imposition of Sentence



                                                                                      m.m
                                                                                      HON.
                                                                                                 ~~      ~ f'()
                                                                                                         .A4o
                                                                                             M.~GARET M~OWN
                                                                                      UNITED STATES CIRCUIT JUDGE
                                                                                      SITTING BY DESIGNATION
                                                                                                                                                    08CRl895 MMM
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AO 245B     (Rev. 9/00) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                             Judgment - Page   _...;;2_ of     5
 DEFENDANT: RACHELLE LYNETTE CARLOCK (I)
 CASE NUMBER: 08CR1895 MMM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          ONE HUNDERED TWENTY (120) MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
          Defendant participate in 500 hour drug treatment program.




    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.    on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                           UNITED STATES MARSHAL


                                                                     By ______~~~~==~~~~~------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     08CR1895 MMM
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AO 245D      (Rev. 3/10) Judgment in a Criminal Case for Revocations
             Sheet 3    Supervised Release
                                                                                                          Judgment-Page   ---1- of _---'5:....-_ _
DEFENDANT: RACHELLE LYNETTE CARLOCK (I)
CASE NUMBER: 08CR189S MMM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
SIXTY (60) MONTHS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994;
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within IS days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device. or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, ifapplicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shaH not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shaH work regularly at a lawful occupation. unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shaH notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shaH not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
                                                                                                                               08CR189S MMM
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       AO 245B     (Rev. 9/00) Judgment in a Criminal Case
                   Sheel4 - Special Conditions
                                                                                                         Judgment-Page   --L- of _--,,-5_ _
       DEFENDANT: RACHELLE LYNETTE CARLOCK (1)
       CASE NUMBER: 08CR1895 MMM




                                               SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a ~~rch, conducted by a U~ited States ~rob~tion Officer ~: a reasonable tirr:e and in a  .
    reasonable manner, based upon reasonable SuspICion of contraband or eVidence of a violation of a conditIOn of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24     hours of any reentry to the United States; supervision waived upon deportation. exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances. or dangerous drugs in any form.
    Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider. as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
D Participate in a mental health treatment program as directed by the probation office.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be  prohibited from opening checking accounts or incurring new credit charges or opening additional lines ofcredit without approval of the
  probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within 90 days.
D Complete            hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Reside  in a Residential Reentry Center (RRC) as directed by the Bureau of Prisons for a period of
  commencing upon release from imprisonment.

~ Notify the Collections Unit of the U.S. Attorney's Office, and the U.S. Probation Office, before the defendant transfers any interest in
     property owned directly or indirectly by the defendant.
D Not engage in any form oftelernarketing, as defined in 18 USC 2325, without the written permission of the probation officer.
~    Notify the Collections Unit of the U.S. Attorney's Office, and the U.S. Probation Office, of any interest in property obtained, directly or
     indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or corporation, until any fine or
     restitution order is paid in fulL


~ Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
     The defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay.


                                                                                                                                   08CR1895 MMM
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A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties



                                                                                            ..     Judgment -   Page _ _5__ of      5

DEFENDANT: RACHELLE LYNETTE CARLOCK (1)
CASE NUMBER: 08CR1895 MMM

                                                          RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_3_2_,_500_.0_0_ _ _ unto the United States of America.




         This sum shall be paid         __ immediately.
                                         )( as follows:
          Through the Clerk, US District Court, to GSA, payable forthwith or through the Inmate Financial Responsibility Program
          at the rate of $25.00 per quarter during the period of incarceration, with the payment of any remaining balance to be
          made, commencing 5 years from release of custody at the rate of $100.00 per month.




       The Court has determined that the defendant      does not   have the ability to pay interest. It is ordered that:
   "         The interest requirement is waived.

            The interest is modified as follows:




                                                                                                 08CRl895 MMM
